Case 3:17-cv-00072-NKM-JCH Document 1213-3 Filed 10/12/21 Page 1 of 4 Pageid#:
                                  20322




                   EXHIBIT 3
       Case 3:17-cv-00072-NKM-JCH Document 1213-3 Filed 10/12/21 Page 2 of 4 Pageid#:
                                                 20323
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2 Soldiers and 2 Civilians Arrested In Theft of Huge Weapons
Cache

AP

Nov. 19, 1990




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                                        20324
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An Army sergeant and three other men have been arrested in the theft of a huge cache of
military weapons and explosives, Federal and local officials said Saturday.

The materiel seized Friday and Saturday from a warehouse and a suspect's home in
Jacksonville included enough military explosives to destroy a city block, said Willi Ellison,
agent in charge of the Federal Bureau of Alcohol, Tobacco and Firearms in Jacksonville.

The soldier who was arrested, Sgt. Michael Tubbs of the Army Special Forces, was brought
back from Saudi Arabia in the past several weeks, Mr. Ellison said. He was already facing
possible Federal firearms and explosives charges in connection with a January 1987 incident
at Fort Bragg, N.C., in which two soldiers were jumped and tied to a tree by two masked
men who stole their rifles. Sergeant Tubbs was restricted to the base at Fort Campbell, Ky.,
on Saturday, Mr. Ellison said.

Another Army soldier, Warrant Officer Jeffrey Jennett, has already been charged in
connection with the 1987 rifle theft. Warrant Officer Jennett was arrested in Charleston, S.C.,
on Thursday and charged in Federal court with assault with intent to commit felony theft
and with stealing an M-16 rifle, Mr. Ellison said.

Also seized Friday and Saturday were magazines describing how to wage urban warfare
and make bombs and hate materials, like videotapes of speeches by Hitler, Mr. Ellison said.
'Litany of Hate'

"All the literature focused on just a litany of hate against Jews, blacks and other minorities,"
Mr. Ellison said.

John Gordon, deputy director of police operations at the Sheriff's Office in Jacksonville, said,
"Our preliminary indications are that these individuals are related to the K.K.K. and the
Aryan Nation."

Arrested in Jacksonville on Friday were Michael Tubbs's brother, John, and Stephen Fussell,
a 26-year-old handyman. Both men face Federal firearms and conspiracy charges.

Mr. Ellison said the investigation spanned Tennessee, Kentucky, North Carolina and
Jacksonville. Many of the firearms and explosives are believed to have been stolen from
Fort Bragg and Fort Campbell, he added.
     Case 3:17-cv-00072-NKM-JCH Document 1213-3 Filed 10/12/21 Page 4 of 4 Pageid#:
                                       20325
He said the arsenal recovered at John Tubbs's home and a mini-warehouse included Soviet
AR-15 and American M-16 automatic rifles, thousands of rounds of ammunition, an anti-
aircraft machine gun, anti-personnel land mines, numerous handguns and shotguns, a 40-
millimeter grenade launcher, hand grenades, smoke grenades, tear gas, dynamite, blasting
caps, booby traps and other high explosives.
